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  7                            UNITED STATES FEDERAL COURT
  8                           CENTRAL DISTRICT OF CALIFORNIA
  9
      KHANG LE and GIAO DANG, Successors               CASE NO: 2:14-cv-04579-
 10   in Interest and Individually; TUAN LE and
      DIANE LE.                                        SJO-SS
 11
                                                       [PROPOSED] ORDER RE:
 12              Plaintiffs                            FILING OF FIRST
                                                       AMENDED COMPLAINT
 13

 14
           vs.
 15   CITY OF EL MONTE; STEVEN
      SCHUSTER, Chief of Police Individually
 16
      and as a peace officer, OFFICER VICTOR
 17   RUIZ; OFFICER JAVIER ROJAS and
      DOES 1 through 10, Inclusive.
 18
                 Defendants
 19

 20

 21         Pursuant to the stipulation of the parties regarding the filing of Plaintiffs’ first

 22   amended complaint, and with GOOD CAUSE SHOWING:
 23
      IT IS HEREBY ORDERED:
 24

 25         1.       That Plaintiffs shall file their First Amended Complaint in this Federal

 26   action on or before July 30, 2014 and Defendants shall file its/their responsive
 27
      pleading within 21 days after the Plaintiffs have filed said first amended complaint.
 28
      [PROPOSED] ORDER RE: FILING OF FIRST AMENDED COMPLAINT
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            2.     The Plaintiffs shall dismiss their State court action entitled Le, et al. vs.

  2   City of El Monte, et al. LASC Case No. BC497169 on or before July 30, 2014, in its
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      entirety and with prejudice. In contemplation of that dismissal, all parties agree to
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  5   waive all costs and fees incurred prior to the filing of Plaintiffs’ First Amended

  6   Complaint in this Federal action and Defendants decline to pursue Rule 11 sanctions
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      against Plaintiffs based upon the representations of Plaintiffs’ counsel that Plaintiffs’
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  9   would not be pursuing Federal claims. Defendants do not waive their right to bring

 10   Rule 11 sanctions on any other grounds.
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            3.     Good cause exists to allow Plaintiffs to file a first amended complaint as
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 13   both parties have agreed that there are deficiencies in Plaintiffs’ complaint.

 14         4.     As a result of the trial date of the Plaintiffs’ state action having been set
 15
      for December 1, 2014, the discovery cutoff in that matter is November 1, 2014 and,
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 17   as a result, the parties have nearly completed discovery in that matter. The parties

 18   therefore agree that no other discovery will be conducted on the named parties to this
 19
      litigation and any and all discovery already taken and completed in the State court
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 21   action may be used for all purposes in the Federal action.
 22   IT IS SO ORDERED.
 23

 24

 25   DATED: _________________                ____________________________________
                                              Hon. S. James Otero
 26                                           U.S District Judge
 27

 28
      [PROPOSED] ORDER RE: FILING OF FIRST AMENDED COMPLAINT
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